                 Case 2:12-cr-00204-RAH-SMD Document 305 Filed 04/02/14 Page 1 of 7

                    Case 2:12 - cr - 00204 - MEP - CSC Document 305 Filed 04/02/14 Pige 1 of 7

  AO 2 4150       (Rey 09/11) Judgment in a Criminal Case
                                                                                                                            (NOTE: Identify CILan5eu wIth Asterisks (1)
                  Sheet I

                                              UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA
              UNITED STATES OF AMERICA                                            AMENDED ,JUDGMENT IN .LL CRIMINAL CASE
                                                                                     (WO)
                         V.
                    ROSIE LEE MURPHY                                                 Case Number: 2:12cr204MEF-04
                                                                                     USM Number: 14221002
Date of Original Judgment: 312012014                                                 Andrew Mark Skier
(Or Date of Last Amended Judgment)                                                   Dcferiduiii AIls iCy
Reason for Amendment:
  Crrciioii of Sciitrne or Recciurd (18 US C. 37 4 21M(L) and (2))                   [J Modification of Supenvition Conditions (18 J S.C. 4 .k 3563(c) or 3582(n))
[ ReduIiun of Sentence for Changed UIrCtItsLuFtCCS (Fed                              f   modification ol imposed Term ol Imprieonr'ieut for Letruerdiriary and
  P 35(b))                                                                               Compeling Reasons (IS US C 4 3582(c)()j)
D Corrcciion orSenienee by ScntcncrI8 Court (Fed. K. Crim, P. 35(a))                 0 Modification ot Lrnipoacd Term of lmptiaonr'icnt for Rcouc.ivc AmcndmcuL(a)
                                                                                         to the Sctencing (}eidIiiica (IS U.S C. ( 3
    Cornxiion nfSeimencc for Clerical Mistake (Fed. K. Crim, P. ]6)
                                                                                     El DireCt Motion to I)islricl Court Pursuant r:i 28 U.S.C. 2255 or
                                                                                             IS U.S C. 3559(c)(7)

                                                                                         Modificurirtit of Ree jrtit jolt Order (18 US
T U E DEFENDANT:
hZ pleaded guilty 10 count(s)              1 and 2 of the Indictment on 5/7/2013
     p leaded riolo contendere to counIs)
     which was accepted by the court.
     was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses.
Title & Section                     Naluy-e of Offense                                                                  Offepse Euided                  Count
 181349                               Conspiracy to Commit Bank Fraud and Wire Fraud                                     6/301200h                      1

 161344                               Bank Fraud                                                                          61301200 7'                   2




 F. Sec additiottal coutit(s) 0:1 page 2
      The defendant is scutcnccd its provided in pages 2 through 7 of this judgment. The Sentence is imposc d pursuant to the
SenteLicirni Reform Act oil 94
o The dfenduni has hecit found not guilty on coun(s)
   Cnunt(s) 4 - 11 of the Indictment                          0 is     'are diiriisd on the motion of the United State!,.

          It is ordered that the dfendartt rrust notify the Ui:iced States attorney for this district within 30 days of an ' chanc of name, rcsidencc,
ornia,1in gaddmcs until all fines, restitujinn, costs, and special aSScSsLTIits irrosd by this judgisient are fully paid. Iforclerad (C pay restitution,
rh dfedant oust notify the court and United States attorney of aterial
                                                                ni     changes iii economic circumstances.

                                                                           3/19/2014
                                                                           DEC of Iiflpcitjtjiin IJiidgrscrit
                                                                                                   (1




                                                                            S glia

                                                                           Mark E. Fuller, United States District Jule -
                                                                           Neun tifJiid1e                                           Ti r cIJ•.,dgc


                                                                                            2 A&JLZc'+
                                                                           Date
                Case 2:12-cr-00204-RAH-SMD Document 305 Filed 04/02/14 Page 2 of 7

                   Case 2:12cr-00204-MEPCSC Document 305 Piled 04/02/14 Pige 2 of 7

A0 24513 like,. O)i I I) Judgment in Criminal Canc
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                                                                                                                                      udginer.e Page: 2iif7
  DEFENDANT- ROSIE LEE MURPHY
  CASENtJMBER: 2:12cr204-MEF04


                                                                     IMPRISONMENT

           I he decndint iN hci'elo         nrtii11ed to the eut.tod ol the I, Iiiited S1tile5 t3LIletILp ul I 1 risons to he rnpHsoiied lbr a
  total terili o
   Seventy One (71) Months This terms consists 71 months on count 1 and 71 months on count 2, all 1,0 be 5erved concurrently.




          The court makes the following reL'timmcrldat:nhis to the Bureau of Prisons:




          'Jhe delnd:iint is ci:indcd to the custody u' the 1 )nitd SI:ItCS Marshal.

      U    I he dcfciidartt shell surrender LO the United Stales Marshal for this district:

          0 at                                          0 a.m           0 p.m.            on

          U as no:it'ied by the United States Maithal

     O The dcfcodant shall surrender for servcc u1eiiienec at the inshtulion designated b y the HLir:iu of Prisms:
          U heiiirc                   oil         -           --                 -

          O as noiiled hs the t)riiied States Marshal
          O as nn:ilicd by the Prohl ion or Pretrial Services 0111cc.


                                                                           RETURN
  I have executed tIns judganeni as billows:




          DchrtdOnl dc1i yei-J on                                                                    In

 a                                                        , with i eerliJicd cop y o1(hisudgment



                                                                                                                t)NI'ED STATES MARSHAL


                                                                                     B'
                                                                                                           l)IO'tt'I'Y 1JNTV!'I) sisi i   1Aiti,FlA.
                          Case 2:12-cr-00204-RAH-SMD Document 305 Filed 04/02/14 Page 3 of 7

                             Case 212-cr-00204-MEF-CSC Document 305 Filed 04/02/14 Page 3 of 7

 AO 24 .9                     5) I   ljdgiiWrit a Ciiiiii.iiI I as c
  I                  S   iiie I       i upri 'ed kcluasc

                                                                                                                                              Ji.idgrncnl Page: 3 of?
  DFENDAT: ROSIE LEE MURPHY
  CASE NUMBER: 2:12cr204-MEF-04
                                                                       SUPERVISED RELEASE
      Upon rd use l'ioin imprisonment, the defendant shall he on supervked release fi a term of
      5 Years This term consists of 5 years on count 1 and 5 years on count 2, all such terms to run concurrently.

               the dalendan: must report La the probation ollice in the district to which the dcliandanL is released wilili 72 hours ol release from the
      custoe o hc I tu rciiu ol P rissill
      Flie rJe fin j itot s ha] I 110L c:rni iii ii ino1I c: I dc ru ,s(,nc or II cal CI me
       ftc eelndaitl shall not unlawt'ull\ ,xrsttass a conirolled suhianec. The deindurit shall reirain fronn dri' LInlO5 ii tOte ol' a controlled
                    1 lie defendant shall submIt La one drucl test wtft j n i 5 day sof release from inipr]sonrneni and at least LWO periodic drug tests
      tlsetcaLler, as determined by the court.
               l'he shove drug LeStIng eundilion is suspended, bused on the courts deteunirmimlion that the defendant pnscs a low risk of
              future s'alistaoec a busc. C/t. f app/wa/e)

              The defend'aiit shall not possess a flrc'arrn. ammunition, destructive device, or any other dangerous weapon                         ht.      pfratt

              The defendant hall             operate ill the collection of DNA is directed b y the prim:raI ion officer. t'hfll rjapp/lc5!e)

              defendant shall eoni1mft with t:'te requirements of lie Sex t.)iiender RerisLratitrn and Nutilicutiun Act (4 U.S C                            t6901, 'i
      El The
         as directed '    pimilmuin ojjccr. tire tfureau ol' Prisons or    y sLuta sax ol tender i egistratioo agenc y in .drich he or she resides.
                                                                                          Lill
              works, is a Stueni. or was convicted it' a i;u.11i15 ini. offense               iC'It'c   pp('ccibt


              The defendant S110 I ;articipate in in approved prtigrilrn for donicstic N, loleace. C'h'i'4 ff,rpj1hLvNe

              l]this judgment imposes a tine or rcstitutaon, is is a condition of supervised release that the defendant p.iy in accordance with the
      Schedule ol Pavnci]Is sheet of this judenicom.
            The del'endanl musL comply sviih the standard conditions that he been adopted by this court as well as with any additional conditions
  on the attached pacc.

                                                       STANDARD CONDITIONS OI' SUPERVISION
I)              lhc dct'cndar.t shall not leave Ilic .judicial district without tlse permission of the court or probation officer;

        2)      dic dcl'ciidanit shall report to the probation officer in a marinci and liequency directed by the court or prohation officer;
        3)     T he del'endar, "hill ai ISwer rruilll'ul ly all itiuirids by 111v prohauoii officer and             ml ms the instructions ofthe probation officer;
        4       the defendant shrill support hi o' icr dc)lcr.dLrrits and mccl oIlier fiLmily responsibilities;

        51      the defendant shalt sso:'k regularly 'at 'a lawful occupaimoc, unless cxcud b y the p'ohation officer 1 1or seh;ioling, training, or other
                acceptable lemons;

        61     time dcl'endatit shall niolith tile mrobatioii ol ' flcci at least ten days pi mr to any change in residence or ciiipk merit,

        7)     tue defendanL shall rcL'rairr from excessive use of alcohol Mid shall nor purchase, possess, use, distribute, tr administer any
               conirohled substance or an y paraphernalia related to any controlled substances, except as prescribed by a 1ihvs:cisn:
       91      the delèndunit stioll not 1rCIIticnt places where eoniti'ollcd sahstnce arc illcsitiv sold, used, distributed. (11 administered:

       ') l    Ihe defendant shall not associate o ith an y persons ene;mcd us criniinai ach y iL and shall not assnciatc with any person conv;c:cd ofa
               tel an. imisi ess — anted nerm i si o'i to do so b y the pro :ati cii a I'I cert
      11))     the det'endauL slial penirit 'a probation otl!ecr to v:slt him or her aL anY lilac aL home or elsewhere and shril 1 permit confiscation tdanv
               contraband observed in plain view c&flie probation ollicer;
      H)       the defendant shall anti i' the probation ol'flecr with in seven(y-two hours of being arrested Or questioned h: a law crsforccnrnt officer;
      12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcer it agency Without the
               permission of the court; and

      13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
               record or personal history or characteristics and shall permit thc probation: officer to make stich notiticatie nh and to confiFin the
               defendant s compliance with SLICII notification requirement.
                 Case 2:12-cr-00204-RAH-SMD Document 305 Filed 04/02/14 Page 4 of 7

                    Case 2:12-cr-00204-MEF-CSC Document 305 Filed 04102/14 Page 4 of 7

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 I                   3(      S ^ P c r%   k;I,i

                                                                                                           .riidgnini Pie: 4 of 7
 DEFENDANT ROSE LEE MURPHY
 CASH NUMBER: 212cr204-MEF-04

                                                  SPECIAL CONDITIONS 01 SUPERViSION
     1) The defendant shall participate in a program approved by the United States Probation Office for E,ibstance abuse,
     which may include testing to determine whether the defendant has reverted to the use of illegal drug::;. The defendant shall
     contribute to the cost of any treatment based on ability to pay and the availability of third-party paym ;nts

     2) The defendant shall provide the probation officer any requested financial information.

     3) The defendant shall not incur new credit charges o r open additioral lines of credit without approval of the Court or the
     Probation Officer unless in compliance wh the payment schedule.

     4 The defendant shall participate in a mental health treatment program approved by the United Staes Probation Oftrce
     and shall contribute o the cost based on ability to pay and the availability of third-party payments.
                    Case 2:12-cr-00204-RAH-SMD Document 305 Filed 04/02/14 Page 5 of 7

                       Case 2:12-cr-00204-MEP-CSC Document 305 Filed 04/02/14 Page 5 of 7

AU 24513         (Rev. 09111) Judgnxni in a Criminal Cc
 I               SisaL 3— Criminal Moiicrir lijIiii

                                                                                                                                 Jdgmcnc Page: 5 o17
     DEFUNL)ANT: ROSE LEE MURPHY
     CASE NUMBER: 2:12cr204-MEF-04
                                                    CRIMINAL MONETARY PENALTIES
         Thc JClCilJafll fliUsL pa lie total erinihauf monetary pciaall ica under Lhe schedule of payments on Sheet 6.


                           Assessment                                         Fine                                     Restitution
 TOTALS                S 200,00                                               0.00                                 S      * $ 562059.12

      I1 The determination ofrestilution is deferred until                     . An rndedlaidgrnem in a Ci iminal (us. (AC) 245() siIl he entered
         a I tee such deteriui nation.

 E ':'hc clefi'nJtint r,,u,sl inake I'es'.iLI,ILR,n (ine1udin coninitini1 rest p luirLilit lo Lite lhlIoring pilycc.s in the nrnot.. t listed helov.
         lithe dct'cnda;rt makes partial 11tO iiiCItl, (i.ieh 1),lCC shall IL'CCIVC Lilt appi'oxi:iratcHi proportioned pa nient, unless ieciiied oLliCr½iseil
         the pi'lori'A UI dci ri' pereci1Itic meat column below, lowerer, pursuant to I 8 1 S.0                   3664(i). Lii I miii Iedcral victims must he paid
         beFore the liii ted Slates is pied.

     Name of Puvce                                                       TWO Luss                     Restitution Ordered Priorit y or Percenla,ie
     *See Attached List                                                                                         $562,059.12




 lOTAI 5                                                                                     0.00               S552059.12


0        Rstuiution amount ordered lJuisua11 U) plea ai.treen. unit

C        The del'eiidanl muri pa' interest an restitution and a fine of' more than S2.500, unless Lhe reStitution or tine i' paid in f'uI hcf'ore the
         P Ileenih Ja y after the date of the judgment, pursu4iul Lo 19 U.S.C. '612(') All of' the paytlienl tlptjtnts on flicel. 6 may be suhject
         In penallies br delinquency rind default, pursuant to 18 U.S.C. 3012tg.


         Tire court determined thut Lire deftisduni does not navc the ability ti pay interest aid it is ordered thai:

              the nierCct requiemenI is tti cd (br the            U tine     v real ittiluon,

         fl Pit' interest reqliil'cnrenl ib 1.-le    C     (Inc    T restitution is mudiLied as t'ulIu's:



 Findin g s for the hats] antatint of Losses are tequired under Chu1.ers I 09A. lID, 1 PA, and I 13A of Title 18 for of'lenses committed on or aPei
Seplen'rher 13, 1994, hut hctbrc A pril 23. 1996.
                     Case 2:12-cr-00204-RAH-SMD Document 305 Filed 04/02/14 Page 6 of 7

                      Case 2:12cr-00204-MEF-CSC Document 305 Filed 04/02/14 Pige 6 of 7

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               Sheet -- 5hcdL1e oi PaymL-nIiI                 -

                                                                                                                                                J dgmem Page O of 7
 DEFENDANT: ROS1E LEE MURPHY
 CASE NUMBER: 2:12cr204MEF-04


                                                                         SCHEDULE OF PAYMENTS

 I tavine ssscscd the deldndat's ability to pay. paynicot of the tniil ellminui monetary penalties is duo as                              [0110-W,


       !'   Lump suin pa y ment oF'S 56225912 *                                       duo i :nwdia;ck, balance due

                     not 101cr than                                -                      or
                     in uccom dance                 L C,                    1),           F, or          F belirs, Or

 B     fl Payment to begin im:r.ediaiely (may he combined wiLh                                    0 C.        Ill D, or    0 F be!owh or

 C'    0 Paymeril in equal                                             (e g. work/p. rrmimth!v, qarr/p) instailmenis Ill' £                          over a period ol'
                                        ,no,iths or years), To Corr,iricncc                              (.g..fO or 60 dow) after the date ol' this judnienL: or

 1)    0    PavmL'ITF in ecual                                       (r.g i:'rkfr:       nhfr qiuor/er/;) instaLimeils l                               nic: a period of
                                                 (z ni   - o I rr , to CIT mmcne e                         p 3!) n - 60 thvs Si lei rd ease from m p r:s'orTmiiei 1110 a
            term of spc' I siOrt, or

 E     0 Oavmoill dci I IFlil tern u! supers I SOTl rcIL'.s C 1511 commence s i (ITO            ft, g 30 or 60 doT ) slier release from
            impr]sonmilcnl. [he court will se ihe payment plan hased on an assessment of the defendant's abii Ly t: p pay 51 hun time) or

 F     W Special instructions regarding the payment n: erinunul muncaJ'y penalties:
             All criminal n]onclaiy payments are to be made to the Cleik, United Stata.s Disirict CourL, Middle Dis:riet of Alabama, Post
             0111cc Box '11!, Monlgomeiy. Alabama 36101. Any balance of the resFitution shall be paid at 1he rat: of nm less than $100
             per month.



                                                                                  I
  nlos lIar coJrL has expressly urdered otherise. if Lhm.s udgment imposes nmpris(mnnmcnt. payment of criminal muiietars jnalLies is due during
 mmprmson.me:il. All erimnsl ra onelamy penalties. CXCOpI lose piy11C1115 Ili ade through thur Federal Bureau of' Pritns' nmalc H nac al
 tospmismhilit Pmojani, arc made to die cicr if tHe court.

 I he delëmidamt shall rccete credit br all panicntspre) iuie'ly made toward any criminal monetary penaltIes inip sod




       .IOiTiF and Several


       I)eleiiulnrt; and Cu-Dcl'c.-idani N-ames and Case Numbers (urum-Iuu/Plg de/muIar rruinler), Iota! Aiiiuunl, JOTUt aid Several Ainouni.
       and corresponding payee, if appropriate.

         Rosie Lee Murphy 212cr204-MEF Total: $562,059.12 .J5 $562,059.12 (Payee; See Attached List); Edmund McCall;
        2:12cr204-WHA-01JS $562,059.12; Corey Gerard Harris 2:12cr204-02 IS $562059.12; Nakeisr.s Rochelle
        Ricnardson Moore, 2:12cr204-MEF-03, JS $562,059.12: Andrew Miilon Williams 2:12cr204-MEF05 JS $562,059.12.

       The defendant shall pay il:e cost sif prosecution.

LI     '['he defendant shtmLl pay the Ibilowing court cost(s):
       I he defendant shalt ibrbeii LI-ic diirndant ' S inierest ii the Idliowing property to the Lnited States:




Piyme'tms shal. be applied in he ibFlriwing order: 1) a5css:1TL11l. (2) resiiwiIon principal. (3) restitubion interest, ('I) fine principal.
 5 J tine :ntoresi. 6) estmllnlunitv realm tutjmimi, (7) permaLbis,
                                                               ) and (8  including ens'. nJ prosecution and court ao:Ls.
Case 2:12-cr-00204-RAH-SMD Document 305 Filed 04/02/14 Page 7 of 7




Brian Rideout                American Express                   rhoma5 Kutouc
                             P.O. Box 26835
                             Ft. Lauderdale FL 33320
Amount: $168.07              Amount: $10,954.55                 Amount: $1,000.00

Bank of America Checking     cit Ip,roup
A11n; Evelyn Burton Kelley   Attn: Tony Dilman
P.O. Box 19810               6450 Las Colinas Boulevard
Wilmington, DE 19810         Special Investigations LCB 160
Amount; $91.26               Irving, TX 75039
                             Amount; $159,452.70
BBVA Compass Bank
Corporate Security Annex,    Discover Card
Attn: Henry Hamill           Attn: Jerry Drown
701 South 32 0dStreet        2900 Delk Road Suite, 700 PMB 15
Birmingham, AL 35233         Marietta, GA 30067
Amount: $47,533.39           Amount: $56,200.61

Capita One                   GE Capital Retail Bank
Attn: Kenny Rivers           950 Forrer Blvd,
15000 Capital One Drive      Kettering, OH 45420
Richmond, VA 23238           Amount: $15,148.02
Amount; $49,711.18
                             HSBC Card Services
Chase Dank                   Restitution goes to Capital One
Attn: Restitution Payment    Attn: Kenny Rivers
P.O. Box 2003                Richmond, VA 23238
Elgin, 1L60121               Amount: S38,41q.90
Amount; $80,465.46
                             Urban Trust Bank
Macy's                       Attn: Compu Credit
Attn: rim Vockey             5 Concourse Parkway
Recovery/Compliance Dept     Atlanta, GA 30328
P.O. Box 8053                Amount: $753.00
Mason, OH '15040
Amount: $1,445.96            U S. Bank
                             Attn; Restitution and Recovery
USAA                         P.O. Box 650
10750 McDermott Freeway      Milwaukee, WI 53278
San Antonio, TX 78288        Amount: $1,652.90
Amount: $570.01
                             Target Financial Services
Evelyn Newton                Mail Stop 5C-X
                             P.O. Box 1422
                             Minneapolis, MN 55440
Amount: $294.96              Amount; $1,444.48

Regions Bank                 Bank of Ar1erica Card
Attn: Chris Hudgins          Attn: Evelyn Burton Kelly
201 Monroe Street,  Floor    P.O. Box 15130
Montgomery, AL 3104          Wilmington, DE 19810
Amount: $25,858.55           Amount: $70,894.12
